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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA

   v.
                                                        Case No. 1:21-cr-00053-CJN
EDWARD JACOB LANG,

   Defendant.




            SECOND NOTICE OF FILING SUPPLEMENTAL AUTHORITY

        NOW COMES the United States of America, through undersigned counsel, and

respectfully provides notice of the decision in United States v. Guy Wesley Reffitt, No. 21-cr-

00032-DLF (D.D.C. May 4, 2022) (ECF 148), attached hereto, which the United States submits

as supplemental authority for its response, ECF 55, to the defendant’s motion to dismiss Count

Nine of the Indictment, ECF 54.

                                           Respectfully submitted,

                                           MATTHEW M. GRAVES
                                           UNITED STATES ATTORNEY
                                           D.C. Bar No. 481052

                                            /s/ Karen Rochlin
                                           KAREN ROCHLIN
                                           DC Bar No. 394447
                                           Assistant United States Attorney Detailee
                                           U.S. Attorney’s Office
                                           Southern District of Florida
                                           99 N.E. 4th Street
                                           Miami, Florida 33132
                                           (786) 972-9045
                                           Karen.Rochlin@usdoj.gov
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                             /s/James I. Pearce
                             James I. Pearce
                             Appellate Counsel to the Capitol Siege Section
                             United States Attorney’s Office
                             NC Bar No. 44691
                             601D Street N.W.
                             Washington, DC 20530
                             James.Pearce@usdoj.gov
                             (202) 532-4991




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